Case 2:16-cv-01314-JRG Document 246-5 Filed 03/21/18 Page 1 of 11 PageID #: 15195




                         Exhibit 4
       Case 2:16-cv-01314-JRG Document 246-5 Filed 03/21/18 Page 2 of 11 PageID #: 15196


Mariano, Andrea

From:                                           Andrew Choung <achoung@glaserweil.com>
Sent:                                           Thursday, March 8, 2018 5:20 PM
To:                                             Comeau, Jeffrey D.
Cc:                                             Rex Hwang; Jason Sheasby; Thomas Burke; Charley Ainsworth; Deana Attaway
                                                (dattaway@pbatyler.com); Jung, Soyoung; Guy Rodgers; Kennerly, Christopher W.;
                                                Melissa Richards Smith (melissa@gillamsmithlaw.com); Team Samsung KAIST; Rumpler,
                                                Joseph; Chris Bunt; Soobert, Allan M.
Subject:                                        [EXT] RE: KAIST IP US LLC v. Samsung Electronics Co., Ltd., et al., No. 2:16-cv-01314-
                                                JRG-RSP



--- External Email: Do not open attachments or click links from unknown senders ---



Hello Jeff, all the data reviewed or relied upon was produced. Thank you.


Best regards,
Andrew Choung

GLASER WEIL
10250 Constellation Blvd., 19th Floor, Los Angeles, CA 90067
Main: 310.553.3000 | Direct: 310.282.6245 | Fax: 310.785.3545
US Mobile: 213.840.0879 | KR Mobile: +82 (010) 4789.4247
E‐Mail: achoung@glaserweil.com | www.glaserweil.com | Link to Bio



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privileged. If you are not the intended recipient, you may not read, copy, distribute or use this information. If you have received this transmission in error, please
notify the sender immediately by reply e‐mail and then delete this message.




From: Comeau, Jeffrey D. [mailto:jeffreycomeau@paulhastings.com]
Sent: Wednesday, March 7, 2018 5:22 PM
To: Andrew Choung <achoung@glaserweil.com>
Cc: Rex Hwang <rhwang@glaserweil.com>; Jason Sheasby <jsheasby@irell.com>; Thomas Burke
<tburke@glaserweil.com>; Charley Ainsworth <charley@pbatyler.com>; Deana Attaway (dattaway@pbatyler.com)
<dattaway@pbatyler.com>; Jung, Soyoung <soyoungjung@paulhastings.com>; Guy Rodgers
<grodgers@glaserweil.com>; Kennerly, Christopher W. <chriskennerly@paulhastings.com>; Melissa Richards Smith
(melissa@gillamsmithlaw.com) <melissa@gillamsmithlaw.com>; Team Samsung KAIST
<TeamSamsungKAIST@paulhastings.com>; Rumpler, Joseph <josephrumpler@paulhastings.com>; Chris Bunt
<rcbunt@pbatyler.com>; Soobert, Allan M. <allansoobert@paulhastings.com>
Subject: RE: KAIST IP US LLC v. Samsung Electronics Co., Ltd., et al., No. 2:16‐cv‐01314‐JRG‐RSP

Andrew,

Have you produced all the data that Mr. Weinstein’s team received from Strategy Analytics for his regression analysis?

Regards,
                                                                                   1
       Case 2:16-cv-01314-JRG Document 246-5 Filed 03/21/18 Page 3 of 11 PageID #: 15197
Jeff


From: Comeau, Jeffrey D.
Sent: Wednesday, February 28, 2018 10:38 AM
To: Andrew Choung; Soobert, Allan M.
Cc: Rex Hwang; Jason Sheasby; Thomas Burke; Charley Ainsworth; Deana Attaway (dattaway@pbatyler.com); Jung,
Soyoung; Guy Rodgers; Kennerly, Christopher W.; Melissa Richards Smith (melissa@gillamsmithlaw.com); Team Samsung
KAIST; Rumpler, Joseph; Chris Bunt
Subject: RE: KAIST IP US LLC v. Samsung Electronics Co., Ltd., et al., No. 2:16-cv-01314-JRG-RSP

Andrew,

You’ve misunderstood what I said regarding Dr. Becker’s availability. I did not say you could choose either day, just that
he’d be available one of those days and we’d get back to you regarding which. I can now confirm that Dr. Becker will be
made available for deposition on March 15.

Regards,
Jeff

From: Andrew Choung [mailto:achoung@glaserweil.com]
Sent: Wednesday, February 28, 2018 9:55 AM
To: Comeau, Jeffrey D.; Soobert, Allan M.
Cc: Rex Hwang; Jason Sheasby; Thomas Burke; Charley Ainsworth; Deana Attaway (dattaway@pbatyler.com); Jung,
Soyoung; Guy Rodgers; Kennerly, Christopher W.; Melissa Richards Smith (melissa@gillamsmithlaw.com); Team Samsung
KAIST; Rumpler, Joseph; Chris Bunt
Subject: [EXT] RE: KAIST IP US LLC v. Samsung Electronics Co., Ltd., et al., No. 2:16-cv-01314-JRG-RSP

Hello Allan, Jeff,

We appreciate your confirming Becker’s availability on Mar 15 or 16. We will let you know which we day we would like
to depose him as we hash out the rest of the schedule. With respect to Mr. Weinstein, we disagree with your
position. He will be produced in the second week as we indicated. With respect to Becker’s supplemental report, as we
specifically noted in my prior email, we understand it will be strictly limited to the regression analysis data – this is not a
generic right to supplement. Finally, I’ve now made multiple attempts to discuss comprehensive deposition scheduling
with specific dates. Since expert depositions start next week, please let me know when you are available today or
tomorrow to discuss. Thank you.


Best regards,
Andrew Choung

GLASER WEIL
10250 Constellation Blvd., 19th Floor, Los Angeles, CA 90067
Main: 310.553.3000 | Direct: 310.282.6245 | Fax: 310.785.3545
US Mobile: 213.840.0879 | KR Mobile: +82 (010) 4789.4247
E‐Mail: achoung@glaserweil.com | www.glaserweil.com | Link to Bio


From: Comeau, Jeffrey D. [mailto:jeffreycomeau@paulhastings.com]
Sent: Wednesday, February 28, 2018 9:01 AM
To: Andrew Choung <achoung@glaserweil.com>; Soobert, Allan M. <allansoobert@paulhastings.com>
Cc: Rex Hwang <rhwang@glaserweil.com>; Jason Sheasby <jsheasby@irell.com>; Thomas Burke
<tburke@glaserweil.com>; Charley Ainsworth <charley@pbatyler.com>; Deana Attaway (dattaway@pbatyler.com)
<dattaway@pbatyler.com>; Jung, Soyoung <soyoungjung@paulhastings.com>; Guy Rodgers
                                                                    2
     Case 2:16-cv-01314-JRG Document 246-5 Filed 03/21/18 Page 4 of 11 PageID #: 15198
<grodgers@glaserweil.com>; Kennerly, Christopher W. <chriskennerly@paulhastings.com>; Melissa Richards Smith
(melissa@gillamsmithlaw.com) <melissa@gillamsmithlaw.com>; Team Samsung KAIST
<TeamSamsungKAIST@paulhastings.com>; Rumpler, Joseph <josephrumpler@paulhastings.com>; Chris Bunt
<rcbunt@pbatyler.com>
Subject: RE: KAIST IP US LLC v. Samsung Electronics Co., Ltd., et al., No. 2:16‐cv‐01314‐JRG‐RSP

Andrew,

Dr. Becker will be available for deposition at least one of those days (March 15 or 16). Accordingly, we will serve an
expert rebuttal report on regression by March 9.

We disagree that Mr. Weinstein’s deposition needs to occur after March 9, as you seem to suggest below. He should be
prepared to defend his opinions now. We intend to depose Mr. Weinstein next week. Please provide his availability.

Regards,
Jeff

From: Andrew Choung [mailto:achoung@glaserweil.com]
Sent: Tuesday, February 27, 2018 3:02 PM
To: Soobert, Allan M.
Cc: Rex Hwang; Jason Sheasby; Thomas Burke; Charley Ainsworth; Deana Attaway (dattaway@pbatyler.com); Jung,
Soyoung; Guy Rodgers; Kennerly, Christopher W.; Melissa Richards Smith (melissa@gillamsmithlaw.com); Team Samsung
KAIST; Rumpler, Joseph; Comeau, Jeffrey D.; Chris Bunt
Subject: [EXT] RE: KAIST IP US LLC v. Samsung Electronics Co., Ltd., et al., No. 2:16-cv-01314-JRG-RSP

Hello Allan,

Based on our call, we understand that Defendants would like to serve a second Becker report on Mar 9 on the regression
analysis data. As we discussed, this impacts the limited deposition period since it necessarily pushes Becker’s deposition
to the second week and additionally means that Mr. Weinstein’s deposition would now need to take place in the second
week as well. So, here is the accommodation that we propose – we can agree to an extension to Mar 9 if Becker strictly
limits his supplement to the regression analysis data and he is made available on Mar 15 or 16. We think this is a very
reasonable accommodation and also helps to start solidifying the deposition schedule. Thank you.



Best regards,
Andrew Choung

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Main: 310.553.3000 | Direct: 310.282.6245 | Fax: 310.785.3545
US Mobile: 213.840.0879 | KR Mobile: +82 (010) 4789.4247
E‐Mail: achoung@glaserweil.com | www.glaserweil.com | Link to Bio


From: Andrew Choung
Sent: Tuesday, February 27, 2018 1:04 PM
To: 'Comeau, Jeffrey D.' <jeffreycomeau@paulhastings.com>; Soobert, Allan M. <allansoobert@paulhastings.com>;
Chris Bunt <rcbunt@pbatyler.com>
Cc: Rex Hwang <rhwang@glaserweil.com>; Jason Sheasby <jsheasby@irell.com>; Thomas Burke
<tburke@glaserweil.com>; Charley Ainsworth <charley@pbatyler.com>; Deana Attaway (dattaway@pbatyler.com)
<dattaway@pbatyler.com>; Jung, Soyoung <soyoungjung@paulhastings.com>; Guy Rodgers
<grodgers@glaserweil.com>; Kennerly, Christopher W. <chriskennerly@paulhastings.com>; Melissa Richards Smith
                                                                    3
     Case 2:16-cv-01314-JRG Document 246-5 Filed 03/21/18 Page 5 of 11 PageID #: 15199
(melissa@gillamsmithlaw.com) <melissa@gillamsmithlaw.com>; Team Samsung KAIST
<TeamSamsungKAIST@paulhastings.com>; Rumpler, Joseph <josephrumpler@paulhastings.com>
Subject: RE: KAIST IP US LLC v. Samsung Electronics Co., Ltd., et al., No. 2:16‐cv‐01314‐JRG‐RSP

So you are unwilling to discuss the impact of your extension request on the deposition schedule?


Best regards,
Andrew Choung

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10250 Constellation Blvd., 19th Floor, Los Angeles, CA 90067
Main: 310.553.3000 | Direct: 310.282.6245 | Fax: 310.785.3545
US Mobile: 213.840.0879 | KR Mobile: +82 (010) 4789.4247
E‐Mail: achoung@glaserweil.com | www.glaserweil.com | Link to Bio


From: Comeau, Jeffrey D. [mailto:jeffreycomeau@paulhastings.com]
Sent: Tuesday, February 27, 2018 12:54 PM
To: Andrew Choung <achoung@glaserweil.com>; Soobert, Allan M. <allansoobert@paulhastings.com>; Chris Bunt
<rcbunt@pbatyler.com>
Cc: Rex Hwang <rhwang@glaserweil.com>; Jason Sheasby <jsheasby@irell.com>; Thomas Burke
<tburke@glaserweil.com>; Charley Ainsworth <charley@pbatyler.com>; Deana Attaway (dattaway@pbatyler.com)
<dattaway@pbatyler.com>; Jung, Soyoung <soyoungjung@paulhastings.com>; Guy Rodgers
<grodgers@glaserweil.com>; Kennerly, Christopher W. <chriskennerly@paulhastings.com>; Melissa Richards Smith
(melissa@gillamsmithlaw.com) <melissa@gillamsmithlaw.com>; Team Samsung KAIST
<TeamSamsungKAIST@paulhastings.com>; Rumpler, Joseph <josephrumpler@paulhastings.com>
Subject: RE: KAIST IP US LLC v. Samsung Electronics Co., Ltd., et al., No. 2:16‐cv‐01314‐JRG‐RSP

Andrew,

This is not a call to discuss deposition scheduling. We are proposing that Plaintiff attempt to alleviate the prejudice
caused by its late production of regression data by agreeing to a very reasonable extension. If you do not agree, we’ll
file our emergency motion. If you are concerned about the impact of Plaintiff’s late production of data on the
deposition schedule, you can withdraw your expert’s opinions related to regression. That’s the only way to cure the
prejudice to Defendants anyway.

Regards,
Jeff

From: Andrew Choung [mailto:achoung@glaserweil.com]
Sent: Tuesday, February 27, 2018 11:01 AM
To: Comeau, Jeffrey D.; Soobert, Allan M.; Chris Bunt
Cc: Rex Hwang; Jason Sheasby; Thomas Burke; Charley Ainsworth; Deana Attaway (dattaway@pbatyler.com); Jung,
Soyoung; Guy Rodgers; Kennerly, Christopher W.; Melissa Richards Smith (melissa@gillamsmithlaw.com); Team Samsung
KAIST; Rumpler, Joseph
Subject: [EXT] RE: KAIST IP US LLC v. Samsung Electronics Co., Ltd., et al., No. 2:16-cv-01314-JRG-RSP

We can do 1:30pm – Please send me depo dates in advance to make the call go faster. Thank you.

1‐800‐747‐5150
2826245



                                                                    4
     Case 2:16-cv-01314-JRG Document 246-5 Filed 03/21/18 Page 6 of 11 PageID #: 15200
Best regards,
Andrew Choung

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US Mobile: 213.840.0879 | KR Mobile: +82 (010) 4789.4247
E‐Mail: achoung@glaserweil.com | www.glaserweil.com | Link to Bio


From: Comeau, Jeffrey D. [mailto:jeffreycomeau@paulhastings.com]
Sent: Tuesday, February 27, 2018 10:40 AM
To: Andrew Choung <achoung@glaserweil.com>; Soobert, Allan M. <allansoobert@paulhastings.com>
Cc: Rex Hwang <rhwang@glaserweil.com>; Jason Sheasby <jsheasby@irell.com>; Thomas Burke
<tburke@glaserweil.com>; Chris Bunt <rcbunt@pbatyler.com>; Charley Ainsworth <charley@pbatyler.com>; Deana
Attaway (dattaway@pbatyler.com) <dattaway@pbatyler.com>; Jung, Soyoung <soyoungjung@paulhastings.com>; Guy
Rodgers <grodgers@glaserweil.com>; Kennerly, Christopher W. <chriskennerly@paulhastings.com>; Melissa Richards
Smith (melissa@gillamsmithlaw.com) <melissa@gillamsmithlaw.com>; Team Samsung KAIST
<TeamSamsungKAIST@paulhastings.com>; Rumpler, Joseph <josephrumpler@paulhastings.com>
Subject: RE: KAIST IP US LLC v. Samsung Electronics Co., Ltd., et al., No. 2:16‐cv‐01314‐JRG‐RSP

Sorry, I’m not available at 2 pm today. I’m available 12:00‐2:00 pm and 3:30‐4:30 pm PT. Let me know if you would like
to talk during one of those windows.

From: Andrew Choung [mailto:achoung@glaserweil.com]
Sent: Tuesday, February 27, 2018 10:29 AM
To: Comeau, Jeffrey D.; Soobert, Allan M.
Cc: Rex Hwang; Jason Sheasby; Thomas Burke; Chris Bunt; Charley Ainsworth; Deana Attaway
(dattaway@pbatyler.com); Jung, Soyoung; Guy Rodgers; Kennerly, Christopher W.; Melissa Richards Smith
(melissa@gillamsmithlaw.com); Team Samsung KAIST; Rumpler, Joseph
Subject: [EXT] RE: KAIST IP US LLC v. Samsung Electronics Co., Ltd., et al., No. 2:16-cv-01314-JRG-RSP

Yes, let’s talk at 2pm – Since this obviously impacts the deposition schedule, please be prepared to provide dates. Thank
you.


Best regards,
Andrew Choung

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US Mobile: 213.840.0879 | KR Mobile: +82 (010) 4789.4247
E‐Mail: achoung@glaserweil.com | www.glaserweil.com | Link to Bio


From: Comeau, Jeffrey D. [mailto:jeffreycomeau@paulhastings.com]
Sent: Tuesday, February 27, 2018 10:12 AM
To: Andrew Choung <achoung@glaserweil.com>; Soobert, Allan M. <allansoobert@paulhastings.com>
Cc: Rex Hwang <rhwang@glaserweil.com>; Jason Sheasby <jsheasby@irell.com>; Thomas Burke
<tburke@glaserweil.com>; Chris Bunt <rcbunt@pbatyler.com>; Charley Ainsworth <charley@pbatyler.com>; Deana
Attaway (dattaway@pbatyler.com) <dattaway@pbatyler.com>; Jung, Soyoung <soyoungjung@paulhastings.com>; Guy
Rodgers <grodgers@glaserweil.com>; Kennerly, Christopher W. <chriskennerly@paulhastings.com>; Melissa Richards
Smith (melissa@gillamsmithlaw.com) <melissa@gillamsmithlaw.com>; Team Samsung KAIST
<TeamSamsungKAIST@paulhastings.com>; Rumpler, Joseph <josephrumpler@paulhastings.com>
Subject: RE: KAIST IP US LLC v. Samsung Electronics Co., Ltd., et al., No. 2:16‐cv‐01314‐JRG‐RSP
                                                                    5
     Case 2:16-cv-01314-JRG Document 246-5 Filed 03/21/18 Page 7 of 11 PageID #: 15201


Andrew,

Our proposal is that Plaintiff agree that Defendants have until March 9 to submit a rebuttal expert report addressing the
regression analysis and any impact of that analysis on damages. Let us know by close of business, or we’ll proceed with
our emergency motion. If you want to discuss, I’m available between 12 pm and 2 pm PT today.

Regards,
Jeff

From: Andrew Choung [mailto:achoung@glaserweil.com]
Sent: Tuesday, February 27, 2018 7:06 AM
To: Comeau, Jeffrey D.; Soobert, Allan M.
Cc: Rex Hwang; Jason Sheasby; Thomas Burke; Chris Bunt; Charley Ainsworth; Deana Attaway
(dattaway@pbatyler.com); Jung, Soyoung; Guy Rodgers; Kennerly, Christopher W.; Melissa Richards Smith
(melissa@gillamsmithlaw.com); Team Samsung KAIST; Rumpler, Joseph
Subject: [EXT] RE: KAIST IP US LLC v. Samsung Electronics Co., Ltd., et al., No. 2:16-cv-01314-JRG-RSP

Hello Jeff,

Alan did not raise this issue at the hearing. And it’s not clear from your email what exactly you are asking. It sounds like
you are proposing to submit a separate rebuttal report addressing just the regression analysis. Is that correct? If so, by
what date are you proposing to serve this separate report? While we disagree with your characterization of any
prejudice, we’re willing to consider your request but need to know the specifics.


Best regards,
Andrew Choung

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US Mobile: 213.840.0879 | KR Mobile: +82 (010) 4789.4247
E‐Mail: achoung@glaserweil.com | www.glaserweil.com | Link to Bio


From: Comeau, Jeffrey D. [mailto:jeffreycomeau@paulhastings.com]
Sent: Monday, February 26, 2018 8:44 PM
To: Andrew Choung <achoung@glaserweil.com>
Cc: Rex Hwang <rhwang@glaserweil.com>; Jason Sheasby <jsheasby@irell.com>; Thomas Burke
<tburke@glaserweil.com>; Chris Bunt <rcbunt@pbatyler.com>; Charley Ainsworth <charley@pbatyler.com>; Deana
Attaway (dattaway@pbatyler.com) <dattaway@pbatyler.com>; Jung, Soyoung <soyoungjung@paulhastings.com>; Guy
Rodgers <grodgers@glaserweil.com>; Soobert, Allan M. <allansoobert@paulhastings.com>; Kennerly, Christopher W.
<chriskennerly@paulhastings.com>; Melissa Richards Smith (melissa@gillamsmithlaw.com)
<melissa@gillamsmithlaw.com>; Team Samsung KAIST <TeamSamsungKAIST@paulhastings.com>; Rumpler, Joseph
<josephrumpler@paulhastings.com>
Subject: RE: KAIST IP US LLC v. Samsung Electronics Co., Ltd., et al., No. 2:16‐cv‐01314‐JRG‐RSP

Andrew,

By close of business tomorrow, please confirm your agreement to the one‐week extension requested in my e‐mail below
or we will file an emergency motion with the Court seeking appropriate relief.

Regards,
                                                                    6
       Case 2:16-cv-01314-JRG Document 246-5 Filed 03/21/18 Page 8 of 11 PageID #: 15202
Jeff

From: Comeau, Jeffrey D.
Sent: Friday, February 23, 2018 12:16 PM
To: Andrew Choung
Cc: Rex Hwang; Jason Sheasby; Thomas Burke; Chris Bunt; Charley Ainsworth; Deana Attaway
(dattaway@pbatyler.com); Jung, Soyoung; Guy Rodgers; Soobert, Allan M.; Kennerly, Christopher W.; Melissa Richards
Smith (melissa@gillamsmithlaw.com); Team Samsung KAIST; Rumpler, Joseph
Subject: RE: KAIST IP US LLC v. Samsung Electronics Co., Ltd., et al., No. 2:16-cv-01314-JRG-RSP

Andrew,

We have been working diligently with our expert, but it has become clear that addressing the late‐produced regression
data is not workable under the current schedule. Regardless of your intentions, Defendants have been prejudiced by
the delay. We request that Plaintiff agree to a one‐week extension for any supplemental or stand‐alone report
addressing the regression analysis. If Plaintiff will not agree, we will need to raise the issue with Judge Payne at
Monday’s hearing, and request appropriate relief.

Regards,
Jeff

From: Andrew Choung [mailto:achoung@glaserweil.com]
Sent: Thursday, February 15, 2018 4:33 PM
To: Comeau, Jeffrey D.
Cc: Rex Hwang; Jason Sheasby; Thomas Burke; Chris Bunt; Charley Ainsworth; Deana Attaway
(dattaway@pbatyler.com); Jung, Soyoung; Guy Rodgers; Soobert, Allan M.; Kennerly, Christopher W.; Melissa Richards
Smith (melissa@gillamsmithlaw.com); Team Samsung KAIST; Rumpler, Joseph
Subject: [EXT] RE: KAIST IP US LLC v. Samsung Electronics Co., Ltd., et al., No. 2:16-cv-01314-JRG-RSP

Hello Jeff,

It looks like the data file had failed to load to the download link. We’re still looking into why that happened. In the
meantime, Guy will send a new download link. Please check and then confirm that the data file came through. Thank
you.


Best regards,
Andrew Choung

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Main: 310.553.3000 | Direct: 310.282.6245 | Fax: 310.785.3545
US Mobile: 213.840.0879 | KR Mobile: +82 (010) 4789.4247
E‐Mail: achoung@glaserweil.com | www.glaserweil.com | Link to Bio


From: Andrew Choung
Sent: Thursday, February 15, 2018 4:13 PM
To: 'Comeau, Jeffrey D.' <jeffreycomeau@paulhastings.com>
Cc: Rex Hwang <rhwang@glaserweil.com>; Jason Sheasby <jsheasby@irell.com>; Thomas Burke
<tburke@glaserweil.com>; Chris Bunt <rcbunt@pbatyler.com>; Charley Ainsworth <charley@pbatyler.com>; Deana
Attaway (dattaway@pbatyler.com) <dattaway@pbatyler.com>; Jung, Soyoung <soyoungjung@paulhastings.com>; Guy
Rodgers <grodgers@glaserweil.com>; Soobert, Allan M. <allansoobert@paulhastings.com>; Kennerly, Christopher W.
<chriskennerly@paulhastings.com>; Melissa Richards Smith (melissa@gillamsmithlaw.com)
<melissa@gillamsmithlaw.com>; Team Samsung KAIST <TeamSamsungKAIST@paulhastings.com>; Rumpler, Joseph
                                                                    7
       Case 2:16-cv-01314-JRG Document 246-5 Filed 03/21/18 Page 9 of 11 PageID #: 15203
<josephrumpler@paulhastings.com>
Subject: RE: KAIST IP US LLC v. Samsung Electronics Co., Ltd., et al., No. 2:16‐cv‐01314‐JRG‐RSP

Hello Jeff,

The data file should be in the production of Feb. 9 that responded to Ms. Jung’s original request. We’re checking to see
what the problem is and will get back to you.


Best regards,
Andrew Choung

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Main: 310.553.3000 | Direct: 310.282.6245 | Fax: 310.785.3545
US Mobile: 213.840.0879 | KR Mobile: +82 (010) 4789.4247
E‐Mail: achoung@glaserweil.com | www.glaserweil.com | Link to Bio


From: Comeau, Jeffrey D. [mailto:jeffreycomeau@paulhastings.com]
Sent: Thursday, February 15, 2018 2:38 PM
To: Jung, Soyoung <soyoungjung@paulhastings.com>; Guy Rodgers <grodgers@glaserweil.com>; Soobert, Allan M.
<allansoobert@paulhastings.com>; Kennerly, Christopher W. <chriskennerly@paulhastings.com>; Melissa Richards
Smith (melissa@gillamsmithlaw.com) <melissa@gillamsmithlaw.com>; Team Samsung KAIST
<TeamSamsungKAIST@paulhastings.com>; Rumpler, Joseph <josephrumpler@paulhastings.com>
Cc: Andrew Choung <achoung@glaserweil.com>; Rex Hwang <rhwang@glaserweil.com>; Jason Sheasby
<jsheasby@irell.com>; Thomas Burke <tburke@glaserweil.com>; Chris Bunt <rcbunt@pbatyler.com>; Charley Ainsworth
<charley@pbatyler.com>; Deana Attaway (dattaway@pbatyler.com) <dattaway@pbatyler.com>
Subject: RE: KAIST IP US LLC v. Samsung Electronics Co., Ltd., et al., No. 2:16‐cv‐01314‐JRG‐RSP

Guy,

Plaintiff still has not produced the raw data that Roy Weinstein relied upon for his regression analysis. This is a plain
violation of Fed. R. Civ. P. 26(a)(2)(B)(ii), which requires an expert report contain “the facts or data considered by the
witness in forming them.” We also requested this data twice last week and did not receive the courtesy of a response.

Please confirm today you will produce the data immediately and not oppose an appropriate extension of time for
Defendants’ rebuttal damages report(s), or we will have no choice but to seek relief from the Court on an expedited
basis. Given the delay already and prejudice to Defendants, we reserve the right to seek preclusion of any testimony
relating to Weinstein’s regressions analysis.

Regards,
Jeff


From: Jung, Soyoung
Sent: Friday, February 09, 2018 4:45 PM
To: Guy Rodgers; Soobert, Allan M.; Kennerly, Christopher W.; Comeau, Jeffrey D.; Melissa Richards Smith
(melissa@gillamsmithlaw.com); Team Samsung KAIST; Rumpler, Joseph
Cc: Andrew Choung; Rex Hwang; Jason Sheasby; Thomas Burke; Chris Bunt; Charley Ainsworth; Deana Attaway
(dattaway@pbatyler.com)
Subject: RE: KAIST IP US LLC v. Samsung Electronics Co., Ltd., et al., No. 2:16-cv-01314-JRG-RSP

Counsel,
                                                                    8
    Case 2:16-cv-01314-JRG Document 246-5 Filed 03/21/18 Page 10 of 11 PageID #: 15204


Please produce the requested materials immediately. Any further delay continues to prejudice our ability to assess
Plaintiff’s damages report and prepare our rebuttal report.

Regards,
Soyoung


From: Jung, Soyoung
Sent: Thursday, February 8, 2018 5:08 PM
To: Guy Rodgers; Soobert, Allan M.; Kennerly, Christopher W.; Comeau, Jeffrey D.; Melissa Richards Smith
(melissa@gillamsmithlaw.com); Team Samsung KAIST; Rumpler, Joseph
Cc: Andrew Choung; Rex Hwang; Jason Sheasby; Thomas Burke; Chris Bunt; Charley Ainsworth; Deana Attaway
(dattaway@pbatyler.com)
Subject: RE: KAIST IP US LLC v. Samsung Electronics Co., Ltd., et al., No. 2:16-cv-01314-JRG-RSP

Guy,

Plaintiff has not produced all references cited in Roy Weinstein’s report. We need the following documents and
information:
     All documents cited in the report not previously produced, including references to sources online (see, e.g.,
          Footnotes 217, 231, 232, 334, 364, 365)
     All Exhibits in native form
     All data used for the regression analysis in native form, including statistical code, and the results of the
          regression model relied upon

Please produce the above immediately.

Regards,
Soyoung

From: Guy Rodgers [mailto:grodgers@glaserweil.com]
Sent: Wednesday, February 7, 2018 8:17 PM
To: Soobert, Allan M.; Kennerly, Christopher W.; Comeau, Jeffrey D.; Melissa Richards Smith
(melissa@gillamsmithlaw.com); Team Samsung KAIST; Rumpler, Joseph; Jung, Soyoung
Cc: Andrew Choung; Rex Hwang; Jason Sheasby; Thomas Burke; Chris Bunt; Charley Ainsworth; Deana Attaway
(dattaway@pbatyler.com)
Subject: [EXT] KAIST IP US LLC v. Samsung Electronics Co., Ltd., et al., No. 2:16-cv-01314-JRG-RSP

Counsel,

We discovered an inadvertent error with the exhibit numbering in Dr. Kuhn’s report. We are providing a copy that
replaces the pages with the corrected numbering and matching relabeled exhibits (Exhibit 3 reflects the corrected
numbering).

https://www.sendthisfile.com/EaIYY0oRH9WI7rN9UHlCk1Ih

The password is the same.

Thank you,
Guy



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